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         August 12, 2024                                               Loly Garcia Tor
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         Hon. Leda Dunn Wettre, U.S.M.J.
         United States District Court for the District of New Jersey
         Martin Luther King Building & U.S. Courthouse
         50 Walnut Street
         Newark, NJ 07101

         Re:    Ylitalo v. Automatic Data Processing, Inc., et al.
                Case No. 2:24-cv-7635-JKS-LDW
                Requesting Conference regarding Deadline to Respond to Complaint

         Dear Judge Wettre:

         I represent Defendant American Century Investment Services, Inc. (“American Century”) in the
         above-referenced action. I write on behalf of American Century and Defendants Automatic Data
         Processing, Inc. (“Automatic”) and ADP, Inc. (“ADP”) to request a conference with Your Honor to
         discuss the defendants’ deadlines to respond to the Complaint pending the Motion for Extension
         of Time to Respond to the Complaint and to Set a Briefing Schedule (the “Motion for Extension”)
         (ECF No. 18).

         Specifically, because the defendants’ current deadlines to respond to the Complaint run before
         the return date of the Motion for Extension,1 the parties seek a conference to request the entry of
         an order that the defendants’ respective deadlines to respond to the Complaint are extended until
         such time as the Court rules on the Motion for Extension.

         Alternatively, should the Court find a conference is not necessary, defendants respectfully request
         that the Court consider this letter to be a request that the deadline to extend the time to respond
         to the Complaint be extended until such time that the Court decides the Motion for Extension and
         so-order this letter to that effect.




         1 Automatic’s and ADP’s response is due on August 16, American Century’s response is due on

         August 20, and the Motion for Extension is returnable on September 3.



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 We provided counsel for Plaintiff with a draft of this letter on Friday, August 9, 2024, and requested
 that they consent to our sending the letter on behalf of all parties. We requested that Plaintiff’s
 counsel advise of their position by today at 12:30 pm, but Plaintiff’s counsel has not responded.

 We greatly appreciate Your Honor’s attention to this matter. If Your Honor has any questions,
 please do not hesitate to contact us.

 Respectfully submitted,


 /s/ Loly Garcia Tor

 Loly Garcia Tor


 cc:      All counsel of record [via ECF]




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